Case 0:21-mj-06582-JMS Document 1 Entered on FLSD Docket 10/22/2021 Page 1 of 7



  A()91(Rcv.08/()k?) Crin3intslComplaint

                                           NITED STATES D ISTRICT COURT
                                                                 forthe
                                                       Southen,DistrictofFIorida

                   United StatesofAmerica
                                     V.


                   CHRISTIAN SANDOVAL,
                                                                          -.,.-.
                                                                                    p/.py:o.k,ojss
                                                           CRIM INAL COM PLAINT
           1,thecomplainalltinthiscase,statetlatthe t
                                                    bllowing istruetothe bestofI
                                                                               '
                                                                               ny knosvledgeand belief.
 01
  1oraboutthedatets)of        kul!: 18.2ç);1 r.vJpr)q2().2p:1 inthecotlntyof
                                                      -.      .   ..                                              qrp-
                                                                                                                     lprd-.-. ... inthe
       spqthqrn ... Districtof
             .                         Fl
                                        o(j#q..- .- .thedefendantls)violatcd:
                                               .



            Codekît?c/ïf
                       -m                                                   OttitnseDtM'cl-/
                                                                                           yp//(?,? yjjya yy       -                          a,c,
  Title 18,Uni
             tet States Code,                      production ofchild pornography
  Sections2251(a)and(e)
  Title 18,Uni
             ted States Code,                      Enticementofa Minorto Engage insexualActiv y                           0î1 22 2021
                                                                                                                           AsoEu,E.xouuE         .
  Section24224b)                                                                                                          cuEnx u s.olsz cm
                                                                                                                        s.o.oFF'
                                                                                                                               t-
                                                                                                                                k.-FT.i-Atln.    ,
                                                                                                                                                 !


           Thiscrinlinalcolmplagntisbased on thesef'
                                                   k
                                                   qcts:
  See attached affidavit




           W continuedontheattachedsheet.
                                                                                               .,'     -   u.......
                                                                                                           .            . r4
                                                                                                                           >
                                                                                        9 x w ..
                                                                                               ,
                                                                                               - u (-.
                                                                                                     -. .                      .

                                                                                                (t;/)l/7/f1l??Clt'tJSlJ:?74//11/*::

                                                                                              :BITFD Adqm-tkqpit ...... . .
                                                                                                     /?r,'ll/t!(?nunte('???(/fitle

  Swornto before mcand signed in my prcsence.
                                                                                                                                                 :
  I
  è
  (
  :11
    2
    :1
     :t
      :
      h:           r
                   !(
                    :
                    2,
                     /!
                      :2,
                        :
                        ;8
                         :
                         '
                         r1
                          7
                          1,(
                            :
                            1,
                             ;!-
                               1                                         -'
                                                                          .-.
                                                                            -- .
                                                                               -
                                                                               ..-....
                                                                                     -.
                                                                                      ------
                                                                                           ..- ..
                                                                                                -
                                                                                                ..
                                                                                                 -.
                                                                                                  --.
                                                                                                    -.-
                                                                                                      ..
                                                                                                       -
                                                                                                       .....-..
                                                                                                              -
                                                                                                              ...
                                                                                                                ,
                                                                                                                .
                                                                                                                --
                                                                                                                 ............-..
                                                                                                                               ----.......-
                                                                                                                                          .......
                                                                                                                                                -.'
                                                                                                       ./l/r//lt?'%
                                                                                                                  b'&ijIêtçlltlre

  City and statc.
                .         . - -- .    Fqlt-o qyprdalq, Fl
                                                        prl
                                                          dp -- ..---        4:-::4 Mo-
                                                                                      stq@-q
                                                                                           py>
                                                                                             p,Upited.
                                                                                                     spty:Mx iglpt: avyge
                                                                                                      r/
                                                                                                       ;?le</nante:???
                                                                                                                     t/title
Case 0:21-mj-06582-JMS Document 1 Entered on FLSD Docket 10/22/2021 Page 2 of 7




                    A FFID AV IT IN SUPPORT O F A CR IM INA L CO M PLM NT

            YouraftsantisAdam Granit,TaskForceOfficer(TFO)withtheFederalBureauof
     Investigation(FBI),who,beingdulysworn,deposesandstatesasfollows:
                   1am an investigative or law enforcementofficerofthe United Stateswithin the

     meaningofSection251047)ofTitle18,UnitedStatesCode.Thatis,1mnanofficeroftheUnited
     States,who is empowered by 1aw to conduct investigations of,and make an-ests for,offenses

     enumerated in Title 18,United StatesCode,Scctions875,1470,2251,and 2252,etseq, Ihave
     been a TFO w ith the FBIsince 2014. Cul-rently,Iam assigned to the FBI,M iam iField O ffice,

     ViolentCrim esA gainst Children squad,which targetsindividuals involved in the on-line sexual

     exploitation ofchildren. 1also participatein othertypesofinvestigationsinvolving crim esagainst

     children. These investigations havc included the use of surveillance techniques, tlndercover

     activities,the interviewing ofsubjectsand witnesses,and the execution ofsearch,al-rest,and
     seizure wanunts.
                   The inform ation contained in this afsdavitincludes both inforlnation that1 have

     learnedthroughm yown investigation,andinformation thathasbeenprovided to mebyother1aw

     enforcementofficers and witnesses. Because this affidavit is being submitted forthe limited

     purpose ofdem onstrating probable cause in supportofthe attached crim inalcom plaint,itdoesnot

     contain a1lof the inform ation known to m e,orto other 1aw enforcem ent officers and witnesses

     involved in this investigation.
             3.    1 m ake this A ffidavit in support of a crim inal com plaint chm-ging Cb istopher

     Sandoval(SESANDOVAL'')with productionofchildpornography,inviolation ofTitle18,United
     StatesCode,Sections2251(a)and(e)andenticementofaminor,inviolationofTitle 18,United
     StatesCode,Section2422(b).


                                                                                                  1
Case 0:21-mj-06582-JMS Document 1 Entered on FLSD Docket 10/22/2021 Page 3 of 7




            4.      In Juneof2021,themotherofan s-year-oldchild respondedtotheOrangeCounty

     SherifpsO fficeafterdiscovering thatherdaughterhad been having inappropriatecomm unications

     with an unknown adultmale on hercellularphone.Law enforcementsubsequently responded to

     thevictim 'sresidenceto interview thechild.Thevictim,whois8yearsold andin 4tbgrade,stated

     thatshe had been communicating on-line and via textm essage with an unknown m ale named

     'schristianj''who was later identified as SANDOVAL. The victim advised thatboth she and

     SANDOVAL had been sending sexually explicitimagesand videosto each other.SANDOVAL

     told thevictim thathe w as 13 yearso1d during these com m unications.
                   Duringtheinterview,thevictim stated thatshem etSANDOVAL on aweb-based

     application called Tik-rok.l SANDOVAL,using TikTok account@ cusa.annonl8z,saw the
     victim'svideosthatshe posted and commented thatshe wascklte. The victim stated thatthey

     exchangedphone num bersin tht chatconversation on the TikTok application.SAN D OV AL gave

     thevictim telephonenumber(954)716-3128,toldherthathisnamewaslschristian,''andthathe
     was in 71h grade. SAN DO VA L asked the victim w hat grade she w as in and during the text

     comm unications the victim advised she w as in 401grade. The rem ainder of the conversations

     between SANDOVAL andthevictim occurred through textm essaging on theirdevices,

            6.      Thevictim advised1aw enforcem entthataftertextingback andforth,SANDOVAL

     sentherpictures of hispenis and asked herto produce sexually explicitim ages of herself, The

     victim provided 1aw enforcem ent with her cellular telephone and a forensic exam ination was

     conducted.Law enforcem entw as able tc recovertextm essage conversations between the victim




     1Tik-rokisavidco-sharingfocusedsocialnetw orkingserviceowned by Chinesecompany ByteDance.Ithostsa
     varietyofshort-form uservideos,from genreslikedance,comedy,andeducation,with durationsfrom 15secondsto
     three minutes
                                                                                                          2
Case 0:21-mj-06582-JMS Document 1 Entered on FLSD Docket 10/22/2021 Page 4 of 7




     mld SAN DO VAL from the victim 'scellphone.A review ofthetextm essagesbetween thevictim

     and SAND OVAL revealed thatthe texting occurred between June 18,2021 and June 20,2021.

                   lnitially,SAND O VAL asked the victim whethershewas(Cholmy.''W hen thevictim

     replied that she wasn't sure,SA ND OVAL texted thathe could help her and they could do it

     together.SANDOVAL repeatedly askedthevictim to takenakedphotosofherselfandsendthem

     to him .Afterinitially sending SAND OVAL aclothed photo and telling him thatshe wasn'thorny,

     SAN DOVA L responded thathe could help herand directed herto the bathroom where he asked

     herto remove herclothes.W hen the victim responded thatshe didn'tfeelcomfol-tablesending

     nakedpicturesofherself,SANDOVAL sentheraphoto depicting afemalechild whoappearsto

     beapproxim ately 8 yearso1dto putheratease. In the im age,thechild isw caring a schooluniform

     dress,which is pulled up exposing hervagina. SAND OVA L tries to convince the victim to send

     asim ilarpicture,butthe victim isreluctant. SAN DOV AL continuesto textthevictim thatshehas

     to takethc pictures and send them to him .

                   The text m essages show that thzoughout their com m unications, SAND OV AL

     contintlously encourages the victim to send him sexually explicitphotos so they can û'gethorny

     together.''SAND OV AL texts thathe needs a picture of the victim w ithoutpants and her shirt

     pulled up. SAN D OVA L then texts the victim and asks specifically forher to send a picture of

     herlsnaked buttand hervagina.''Thevictim ultim ately com piiesand sendsseveralsexuallyexplicit

     im ages to SAN DO VAL via textm essage. SAND OVA L coaches the victim and directs her to

     'tplace the cam era in the bathroom and m ake sure her legsare open in the video.'' SAN DOV AL

     sendsseveralvideos ofan adultm ale m asturbating and tellsthevictim thatitishim in the videos,

            9.     SAN DO VA L continued to textthevictim ,'tw hen you geton thefloorand you turn

     around m ake sure you are on yourhandsand knees and stick yotlrbuttoutso thatway 1can see


                                                                                                 3
Case 0:21-mj-06582-JMS Document 1 Entered on FLSD Docket 10/22/2021 Page 5 of 7




     okie.'' SAN DOV AL texts her thathe wants '$a longer video and open your legs and then turn

     aroundandopenyourbuttandthenjustsitbackdosvnandrubitwithyourhands.lt'sgollnafeel
     really good.''W hen the 8-year-old victim isconfused and asks SAN DO VA L whatshe issupposed

     to rub,he replies ûtyourpussy w ith yourfingers.'' The victim com plied and sentSAN DOVAL a

     sexually explicitvideo ofherself naked,digitally penetrating hervagina,as directed from her

     bathroom .
                   SAN D OVA L texted thatthe video was good,Csbutthe nextvideo m ake itlonger

     and w hen you stick your buttoutthistim e was betterbutncxttim e stick itouteven m ore and get

     close to the cnm era ok,'' The victim again com plied and created a video of herself digitally

     penetrating her vagina and sent it via text m essage to SA ND OVA L. This text conversation

     continued with SAN DOV AL and the victim discussing w hatsex acts they w illdo w hen they are

     together.
                   A subpoenaw assentto T-M obile forthetelephone num berthatSAN D OV AL used

     to communicate with the victim,(954)716-3128,Reciprocalrecords indicate thatthe phone
     num ber is assigned to SAN DO VAL'S m other. Law enforcem ent com pared SA ND OVAL'S

     Florida Driver's License photo to the photos sentto the victim during the text m essaging and

     determined they are one and the sam e.

                   A search warrant was sent to TikTok for SAN DOV AL'S account inform ation.

     Reciprocal records included IP addresses, nm ong other things. Onc of the IP addresses,

     73.46.146.27, shows that SAN D OVAL'S accountw as accessed from the Southern District of

     Florida during the tim ethatthe textm essage chatsw ere occurring w ith the victim .

                   On October 22, 2021, 1aw enforcem ent executed                 search warrant on
     SAN DOVAL'S residence in Davie, Florida wherein various electronic devices were seized


                                                                                                 4
Case 0:21-mj-06582-JMS Document 1 Entered on FLSD Docket 10/22/2021 Page 6 of 7




     incltlding an iphone 12,a M acBook,externalhard drive and iPad.2 Iwaw ent-
                                                                              orcem entconductcd

     an on-scene preview of SANDOVAL'S illhone and recovered various images of child

     pornography.A fullforensicextractionremainspending.SANDOVAL waivedhisM irandarights

     and provided law enfbrcement with a recorded statem ent wherein hc adm itted to the above-

     m entioned text com m unications w ith thc s-year-old victim . SA N DOVA L also adm itted to

     sending sexually cxplicitvideos and im ages of him self as w ellas asking the victim to prodtlce

     sexually explicitvidcos and im agcsof herself,w hich he saved and used for sexualgratilication.

     SAN DOV AL adm itted to 1aw cnforcem entthathehas a sexualinterestin childrcn.
                   Based tlpon the inform ation providcd abovc,Irespectfully stlblnitthatprobable

     catlseexists to believe thatSAN DOVA I,produccd child pornography,in violation ofTitlc 18,

     UnitedStatcsCode,Sections2251(a)and (e)andcnticed aminorto engagein scxually explicit
     conduct.in violationof-l-itle 18,United StatesCode,Section 2422(17).

            FURIIIER I'I)tJR XFf7,z1A7'57/1I'E77
                                               5 AôzlUGIIT
                                                                       /
                                                                            ze'
                                                                            .
                                                                 v.,            .-..- ..- ..
                                                                 .                        )
                                                        .   zt
                                                             r         .
                                                                           --
                                                                       -L...---.,     --
                                                                                     ...-
                                                                                     ,
                                                                                         -
                                                                                         ,oa-  -

                                                 FBlTFO ADAM GRAN IT
                                                 FEDERA I,BUREA U O F INV ESTIGATION


                                         vace7-il
     Stlbscribed and sworn before m e via l     nethis/A dal'o1'October2021.
                                                        - --




       N ORA BLE JA R ID M .STRA USS
     UN ITED S'l'A'l'E S M A GISTRATE JUD GE




     2Search W arrantN um ber21-M J-6578-STRA tJSS
                                                                                                    5
Case 0:21-mj-06582-JMS Document 1 Entered on FLSD Docket 10/22/2021 Page 7 of 7




                            UN ITED STATES DISTRICT C O UR T
                                SOUTH ERN DISTRICT OF FLORIDA

                            CA SE NUM BER :    1


                                    BOND RECOM M EN DATIO N



 DEFENDAN T:Christian sandoval

               Pre-TrialDetention
               (PersonalSurety)(CorporateSurety)(Cash)t'
                                                       Pre-TrialDetention)




                                                By: J'A     AM -
                                                      AUSA: JO DIANTO N




  LastKnown Address:5901 Palm Trace Landings Dr
                     Apartm ent213

                     Davie,Clorida33314
  W hatFacility:




  Agentts):          FBITFO Adam Granit
                     (FBI) (SECRET SERVICE) (DEA) (lRS) (lCE) (OTHER)
